      Case 2:18-cr-00422-DJH Document 570 Filed 05/08/19 Page 1 of 3



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16
17                       IN THE UNITED STATES DISTRICT COURT

18                            FOR THE DISTRICT OF ARIZONA

19
     United States of America,                             No. CR-18-422-PHX-SMB
20
                          Plaintiff,                 UNOPPOSED MOTION TO EXTEND
21                                                     TIME TO FILE RESPONSE TO
              v.                                        DEFENDANTS’ MOTION TO
22                                                    DISMISS INDICTMENT (Doc. 561)

23   Michael Lacey, et al.,                                      (Second Request)

24                        Defendants.

25         On May 3, 2019, the Court granted the government’s unopposed motion to extend
26   deadline for response to Defendants’ motion to dismiss indictment to May 27, 2019. (Doc.
27   567.) In its motion, the government mistakenly requested that its response deadline be
28   moved to Memorial Day, when the Court and the United States Attorney’s Office will be
      Case 2:18-cr-00422-DJH Document 570 Filed 05/08/19 Page 2 of 3




 1   closed. Accordingly, the government requests the deadline be moved from Memorial Day
 2   to Wednesday, May 29, 2019. The government has conferred with Defendants and they
 3   have no objection to this request.      Similarly, the government has no objection to
 4   Defendants’ reply deadline extending in a corresponding manner. The new requested
 5   deadline is set forth in the proposed form of order submitted herewith.
 6         Respectfully submitted this 8th day of May, 2019.
 7                                            MICHAEL BAILEY
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 8                                            District of Arizona
 9                                            s/ Andrew C. Stone
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      Case 2:18-cr-00422-DJH Document 570 Filed 05/08/19 Page 3 of 3



                                  CERTIFICATE OF SERVICE
 1
            I hereby certify that on this date, May 8, 2019, I transmitted the foregoing under-
 2   seal document for filing to the Clerk of the United States District Court and sent a copy via
     electronic mail to: Paul J. Cambria Jr. Esq. and Erin e. McCambpell, Esq., Lipsitz Green
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11
12   s/ Angela Schuetta
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